         Case 4:20-cv-00236-RH-MJF Document 332 Filed 06/24/20 Page 1 of 5


                                                                                  Page 1 of 5

               IN THE UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION



KIRK NIELSEN et al.,

                   Plaintiffs,
                                                 CONSOLIDATED
v.                                               CASE NO. 4:20cv236-RH-MJF

RON DESANTIS et al.,

          Defendants.
___________________________________________________/


                             ORDER DENYING A PRELIMINARY
                           INJUNCTION ON ALL ISSUES BUT ONE


         The plaintiffs in these consolidated actions challenge Florida voting

procedures. Three sets of plaintiffs have filed separate motions for a preliminary

injunction. This order denies the motions on all issues but one and provides an

abbreviated explanation. A more complete explanation is unnecessary because trial

is imminent. Findings of fact and conclusions of law will be announced after the

trial.

     I. Governing Standard

         As a prerequisite to a preliminary injunction, a plaintiff must establish a

substantial likelihood of success on the merits, that the plaintiff will suffer

Consolidated Case No. 4:20cv236-RH-MJF
        Case 4:20-cv-00236-RH-MJF Document 332 Filed 06/24/20 Page 2 of 5


                                                                                   Page 2 of 5

irreparable injury if the injunction does not issue, that the threatened injury

outweighs whatever damage the proposed injunction may cause a defendant, and

that the injunction will not be adverse to the public interest. See, e.g., Charles H.

Wesley Educ. Found., Inc. v. Cox, 408 F.3d 1349, 1354 (11th Cir. 2005); Siegel v.

LePore, 234 F.3d 1163, 1176 (11th Cir. 2000) (en banc).

    II. Likelihood of Success

         This order addresses likelihood of success on the merits for only some of the

claims and expresses no opinion on the others. The parties should draw no

inference one way or the other about likely success on items not addressed in this

section of this order. The ruling does not limit the evidence that may be presented

or foreclose a contrary ruling at the forthcoming trial on the merits.

         First, the plaintiffs are not likely to succeed on their claim that the

defendants must provide postage for mailing in a ballot. The Twenty-Fourth

Amendment prohibits a state from denying or abridging the right to vote in a

federal election by reason of failure to pay “any poll tax or other tax.” The

amendment means what it says. See Jones v. DeSantis, No. 4:19cv300, 2020 WL

2618062 at *27-29 (N.D. Fla. May 24, 2020). Postage charged by the United States

Postal Service—like the fee charged by any other courier or the bus fare for getting

to the polls to vote in person—is not a tax prohibited by the Twenty-Fourth




Consolidated Case No: 4:20cv236-RH/MJF
        Case 4:20-cv-00236-RH-MJF Document 332 Filed 06/24/20 Page 3 of 5


                                                                                   Page 3 of 5

Amendment. And the requirement to pay postage also does not violate any other

federal provision.

         Second, the plaintiffs have not established that they are likely to succeed on

their challenge to the election-day deadline for receipt of a mailed ballot. See

VoteVets Action Fund v. Detzner, No. 4:18-cv-524-MW/CAS (N.D. Fla. Nov. 16,

2018); see also Friedman v. Snipes, 345 F. Supp. 2d 1356, 1376-77 (S.D. Fla.

2004). The plaintiffs say a Supervisor of Elections should accept ballots

postmarked on or before election day, even if received later at the Supervisor’s

office. A state could reasonably so provide; some do. But at least as shown by this

record, a state could also reasonably decide, as Florida has, to require receipt on or

before election day. This eliminates the problem of missing, unclear, or even

altered postmarks, eliminates delay that can have adverse consequences, and

eliminates the remote possibility that in an extremely close election—Florida has

had some—a person who did not vote on or before election day can fill out and

submit a ballot later.

         Third, the Williams plaintiffs have not established likely success on some of

the many items on their list of challenged provisions. See ECF No. 68 (also

docketed in Case No. 1:20cv67 as ECF No. 108). This is so for items 1, 2, 3, 4, 5,

6, 7, 15, 17, 18, 25, 30, and 33. The Williams plaintiffs have not established likely

success on items 3, 4, and 5 because the claims are unlikely to succeed on the

Consolidated Case No: 4:20cv236-RH/MJF
        Case 4:20-cv-00236-RH-MJF Document 332 Filed 06/24/20 Page 4 of 5


                                                                                  Page 4 of 5

merits based on the existing declarations of the covid-19 emergency, and the

possibility of a different emergency declaration is too speculative to constitute an

injury in fact.

    III. Irreparable Harm to the Plaintiffs

         The relevant time frame for analyzing irreparable harm is from now until

issuance of a ruling after the July 20 trial. With one exception addressed below, the

plaintiffs have failed to show that they will suffer irreparable harm during that

period in the absence of a preliminary injunction. Part of the explanation is that no

elections will occur during that period—with the possible exception of one local

election the plaintiffs have not even mentioned—and the plaintiffs can work

around the alleged registration deficiencies.

         This is an alternative basis for the denial of a preliminary injunction on the

claims for which, as set out in section II above, the plaintiffs have not shown likely

success on the merits. This is the sole basis for the denial of a preliminary

injunction on other claims. This makes it unnecessary to address the other

prerequisites to a primary injunction: damage the proposed injunction may cause a

defendant and the public interest.

         The exception is the claim that blind individuals have a right to cast a remote

secret ballot. The Grubb plaintiffs say at least 45 days will be required for the State

to order and put in place the system they say is necessary to redress the denial of

Consolidated Case No: 4:20cv236-RH/MJF
        Case 4:20-cv-00236-RH-MJF Document 332 Filed 06/24/20 Page 5 of 5


                                                                                Page 5 of 5

this right. The defendants have not yet responded to the Grubb motion. This order

expresses no opinion on any of the four prerequisites to a preliminary injunction on

this claim.

    IV. Conclusion

         For these reasons,

         IT IS ORDERED:

         1. The Williams plaintiffs’ preliminary-injunction motion, ECF No. 86, is

denied in part and remains pending in part.

         2. The Nielsen plaintiffs’ preliminary-injunction motion, ECF No. 89, is

denied.

         3. The Grubb plaintiffs’ preliminary-injunction motion, ECF No. 230,

remains pending.

         SO ORDERED on June 24, 2020.

                                         s/Robert L. Hinkle
                                         United States District Judge




Consolidated Case No: 4:20cv236-RH/MJF
